             Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 1 of 48




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK




FEDERAL TRADE COMMISSION,

        Plaintiff,
                                                       Case No. 1:20-cv-3867
   v.

FIRST DATA MERCHANT SERVICES LLC,                      COMPLAINT FOR PERMANENT
a limited liability company, and                       INJUNCTION AND OTHER
                                                       EQUITABLE RELIEF
CHI W. KO, a/k/a Vincent Ko,

        Defendants.



        Plaintiff Federal Trade Commission (“FTC”), for its complaint alleges:

        1.      The FTC brings this action under Sections 13(b) and 19 of the Federal Trade

Commission Act (“FTC Act”), 15 U.S.C. §§ 53(b) and 57b, and the Telemarketing and

Consumer Fraud and Abuse Prevention Act (“Telemarketing Act”), 15 U.S.C. §§ 6101–6108, to

obtain permanent injunctive relief, rescission or reformation of contracts, restitution, the refund

of monies paid, disgorgement of ill-gotten monies, and other equitable relief for Defendants’ acts

or practices in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and in violation of the

FTC’s Trade Regulation Rule entitled Telemarketing Sales Rule (“TSR”), 16 C.F.R. Part 310.

                                           SUMMARY

        2.      This is an action by the FTC for injunctive and equitable monetary relief against

Defendants for opening merchant accounts and processing payments in connection with a diverse

array of scams and frauds that caused tens of millions of dollars in harm to American consumers.


                                                 1
            Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 2 of 48



       3.      Defendants have opened merchant accounts and processed payments for at least

four deceptive schemes that have been the subject of FTC or U.S. Department of Justice law

enforcement actions (“the Schemes”). The Schemes included, but were not limited to, a debt

relief scam that used deceptive telemarketing, business opportunity scams that used deceptive

websites, and a criminal enterprise that used stolen credit card data to bill consumers without

their consent. Defendants received fees for processing the Scheme’s payments.

       4.      Defendant Chi “Vincent” Ko (“Ko”), through his company First Pay Solutions

LLC (“FPS”), established merchant accounts for the Schemes and processed the payments they

took from consumers. Specifically, Ko and FPS: (1) opened hundreds of merchant accounts for

the Schemes in the names of phony entities and shell corporations; (2) provided Wells Fargo

Bank with false or deceptive information to obtain merchant accounts; (3) ignored evidence that

FPS’s sales agents were engaged in fraud; and (4) failed to adequately underwrite, monitor or

timely terminate merchants which it knew, consciously avoided knowing, or should have known

were engaged in fraud.

       5.      Defendant First Data Merchant Services LLC (“First Data”) is a global merchant

services acquirer and payment processor that processes over $2 trillion dollars in annual payment

volume in the United States through a variety of distribution channels and partnerships, including

through independent sales organizations (“ISOs”), such as FPS. At all times relevant to the

Complaint, First Data employed FPS and Ko to sell First Data’s payment processing services.

       6.      For years, First Data processed payments for the Schemes, ignoring repeated

warnings and direct evidence that merchants solicited by FPS and Ko were engaged in fraud.

First Data also violated its own anti-fraud policies, and the rules of its acquiring bank and the

credit card networks, by failing to adequately: (1) underwrite, screen, monitor, and/or oversee



                                                2
            Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 3 of 48



FPS or its sales agents; (2) review FPS’s merchant boarding, underwriting, and risk management

processes; and (3) monitor or timely terminate the Schemes’ merchant accounts.

       7.      Defendants knew, consciously avoided knowing, or should have known, that the

merchants whose accounts they opened and transactions they processed were defrauding

consumers. Starting in 2012, Ko and FPS approved hundreds of merchant applications for the

Schemes that were facially false or deceptive, that depicted shell companies as bona fide

businesses, or that described business activity that was prohibited by bank and card association

rules. In early 2012, FPS staff told Ko that FPS was opening merchant accounts based on

fraudulent applications. By April 2012, First Data had already questioned whether to continue a

relationship with FPS based on its failure to adequately underwrite merchant accounts. For the

next two and a half years, First Data and FPS continued to process payments for the Schemes

while communicating about deceptive conduct and exorbitant chargeback rates associated with

FPS’s portfolio. At one point, FPS’s merchants accrued over 300,000 chargebacks in less than

one year, representing approximately 40% of First Data’s excessive chargeback violations for its

entire wholesale merchant business.

       8.      Throughout its relationship with FPS and Ko, First Data received repeated

warnings and direct evidence that FPS’s portfolio was permeated by fraud, yet continued to

allow Ko and FPS to approve and open merchant accounts with minimal oversight until the end

of 2014 when Wells Fargo terminated FPS’s processing contract. In December 2014, Visa

required First Data to pay $18.7 million restitution in connection with FPS’s merchants and

banned the company from boarding high-risk merchants until it could be audited by a forensic

accounting firm.   In April 2015, the audit found significant failures in First Data’s risk

management practices, including “no controls” over high-risk merchant boarding in its wholesale



                                               3
            Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 4 of 48



merchant business, deficient merchant transaction monitoring, and failures in due diligence of its

agents, like FPS and Ko.

       9.      In May 2015, First Data acquired FPS’s merchant accounts, took over its office

space, and hired most of its employees. In September 2015, First Data asked Wells Fargo to

allow former FPS employees employed at First Data to resume soliciting high-risk merchants.

Wells Fargo granted the request on the condition that the former FPS employees were not

“associated with or related to Vincent Ko” and that First Data could confirm that “Vincent Ko

has no influence.”

       10.     In January 2017, First Data hired Ko as its vice-president of strategic partnerships.

While at First Data, Ko has hired at least 15 sales agents to solicit prospective merchants.

       11.     Defendants’ acts and practices have enabled a host of pernicious scams and frauds

to permeate the credit card system. Without the processing services provided by the Defendants,

the Schemes could not have obtained fraudulent merchant accounts to process their credit and

debit card transactions with consumers.

       12.     By establishing merchant accounts in the names of shell corporations and

processing transactions for the Schemes, Defendants caused substantial injury to consumers,

resulting in tens of millions of dollars in illegal charges to hundreds of thousands of victims.

                                 JURISDICTION AND VENUE

       13.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337(a),

and 1345.

       14.     Venue is proper in this District under 28 U.S.C. §§ 1391(b)(2), (c)(2), (d) and 15

U.S.C. § 53(b).




                                                  4
          Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 5 of 48



                                            PLAINTIFF

       15.     The FTC is an independent agency of the United States Government created by

statute. 15 U.S.C. §§ 41–58. The FTC enforces Section 5(a) of the FTC Act, 15 U.S.C. § 45(a),

which prohibits unfair or deceptive acts or practices in or affecting commerce. The FTC also

enforces the Telemarketing Act, 15 U.S.C. §§ 6101–6108. Pursuant to the Telemarketing Act,

the FTC promulgated and enforces the TSR, 16 C.F.R. Part 310, which prohibits deceptive and

abusive telemarketing acts or practices.

       16.     The FTC is authorized to initiate federal district court proceedings, by its own

attorneys, to enjoin violations of the FTC Act and the TSR, and to secure such equitable relief as

may be appropriate in each case, including rescission or reformation of contracts, restitution, the

refund of monies paid, and the disgorgement of ill-gotten monies. 15 U.S.C. §§ 53(b), 57b,

6102(c), and 6105(b).

                                           DEFENDANTS

       17.     Defendant First Data Merchant Services LLC (“First Data”) is a Florida limited

liability corporation with its principal place of business at 5565 Glenridge Connector NE,

Atlanta, GA 30342. First Data provides payment processing services for businesses. At all

times material to this Complaint, First Data has established merchant accounts for businesses and

processed their credit and debit card transactions with consumers. First Data transacts or has

transacted business in this District and throughout the United States.

       18.     Defendant Chi “Vincent” Ko is a former vice-president of First Data and the

former owner and president of FPS. Until First Data acquired FPS’s merchant accounts in May

2015, FPS was in the business of soliciting and referring merchants who wished to accept credit

and debit card payments to processors and banks. At all times material to this Complaint, acting



                                                 5
            Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 6 of 48



alone or in concert with others, Ko has formulated, directed, controlled, had authority to control,

or participated in the acts and practices of FPS, including the acts and practices set forth in this

Complaint. Ko transacts or has transacted business in this District and throughout the United

States.

                                          COMMERCE

          19.     At all times material to this Complaint, Defendants have maintained a

substantial course of trade in or affecting commerce, as “commerce” is defined in Section 4 of

the FTC Act, 15 U.S.C. § 44.

                THE CREDIT CARD SYSTEM AND MERCHANT ACCOUNTS

          20.   Defendants are in the business of offering credit and debit card processing

services to businesses and helping them to establish merchant accounts with a financial

institution (“acquiring bank”) that is a member of the credit card networks (i.e., Visa,

Mastercard). Without access to a merchant account, businesses are not able to accept consumer

credit or debit card payments.

          21.   Various entities act as intermediaries between merchants and acquiring banks.

These entities include payment processors, independent sales organizations (“ISOs”), and sales

agents that offer payment processing services to merchants.

          22.   To manage risk and fraud, the card networks impose operating rules and

restrictions on registered members and third parties, including acquiring banks and ISOs. In

turn, acquiring banks enter into contracts with payment processors and ISOs that require

compliance with the bank’s policies and procedures for conducting due diligence or underwriting

on each prospective merchant and monitoring each merchant’s transaction activity to manage

risk.



                                                 6
          Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 7 of 48



       23.     Generally, businesses that apply for a merchant account must undergo an

underwriting process intended to ensure that the applicant is a legitimate and creditworthy

business and to weed out merchants engaged in illegal conduct. As such, payment processors

typically scrutinize merchant account applications and may deny applications from businesses

that present a high risk of fraud or are prohibited either by an acquiring bank or the card

associations, such as debt consolidation services or get-rich-quick business opportunities.

       24.     At times material to this Complaint, First Data was a merchant services acquirer

and payment processor that solicited merchants through its relationships with ISOs, including

through FPS. In August 2010, FPS, First Data, and Wells Fargo entered a Merchant Program

Processing Agreement (the “Processing Agreement”), under which FPS agreed to solicit

prospective merchants on their behalf and to comply with certain obligations related to the

underwriting, boarding, and monitoring of its merchants. In exchange for soliciting, boarding,

and monitoring merchants, FPS and First Data earned commissions or “residuals” based on the

volume of transactions generated by each merchant account. The greater the volume, the more

FPS and First Data earned. Both FPS and First Data also earned a fee for processing each

“chargeback,” or transaction disputed by a consumer, incurred by their merchants. Chargebacks

occur when customers contact their credit card issuing bank to dispute a charge appearing on

their credit card account statement. One of the primary indicators of fraudulent or deceptive

conduct is a high chargeback rate.

       25.     Under the Processing Agreement, FPS acted as a “Wholesale ISO,” assuming

responsibility for initial underwriting of prospective merchants and financial liability for

chargebacks on the accounts in its merchant portfolio. Typically, if a Wholesale ISO is unable to

pay chargeback liabilities for its merchants, the processor and acquiring bank must pay the



                                                 7
          Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 8 of 48



chargeback liabilities to the card associations so that consumers who successfully dispute

transactions can be made whole. Thus, processors such as First Data try to reduce the likelihood

of owing chargeback liabilities by requiring that their ISOs comply with card network rules and

the acquiring bank’s policies on merchant underwriting and monitoring.

       26.     The Processing Agreement required FPS to perform a due diligence review of

prospective merchants, including a background investigation of the business and principals.

Specifically, Wells Fargo’s rules required for every merchant application: “Validate/verify the

legitimacy of the business. Any material discrepancies should be documented, investigated and

resolved. The source of the verification should be included in the merchant file or a detailed

description of the verification source should be retained.”

       27.     FPS was also prohibited under the Processing Agreement from soliciting

merchants engaged in certain unacceptable business practices because they were presumptively

illegal, violated card association rules, or created excessive risk exposure. The banned categories

included, for example, businesses selling “debt consolidation services,” “Get Rich Quick

Opportunities,” and “[a]ny merchant engaged in any form of deceptive marketing practices.”

Wells Fargo also prohibited FPS from soliciting merchants selling nutraceuticals through free-

trial offers, unless specifically pre-approved by Wells Fargo.

       28.     FPS was also required to provide to First Data completed application materials,

including underwriting support and documentation, for all of the merchants it referred. In turn,

through its fraud detection software systems, First Data maintained access to merchant

application information for merchants boarded by FPS.

       29.     The Processing Agreement required First Data to screen all merchants solicited by

FPS against “negative file lists,” which are databases of problem accounts that are used in the



                                                 8
          Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 9 of 48



underwriting process to identify potentially high-risk merchants. First Data also was required to

check merchants against the card associations’ lists of terminated merchants.

       30.        First Data and Wells Fargo ultimately retained the “sole right and authority to

accept or reject any [merchant] Application” solicited by FPS.

       31.        In addition to the requirements of the Processing Agreement, Defendants were

subject to industry rules and requirements designed to verify the identity of each prospective

merchant and to screen out merchants potentially engaged in fraud, including card association

rules, Wells Fargo and First Data’s joint credit policy (“the joint credit policy”), and Wells

Fargo’s credit risk guidelines.

       32.        Once Defendants boarded a merchant, Wells Fargo’s credit risk guidelines

mandated that FPS “scrutinize [its] merchants” for evidence of deceptive marketing practices

and, if found, “immediately compel the merchant to eliminate these practices or terminate the

merchant.” The guidelines also provided numerous examples of common warning signs of

potential deceptive marketing practices, which included negative options, telemarketing, and

high-pressure sales tactics, and listed industries where deceptive marketing practices were

prevalent, such as debt consolidation, Internet-based work-from-home opportunities, and

nutraceuticals.

       33.        Under the joint credit policy, First Data was responsible for monitoring the

merchants solicited by FPS for indicators of fraudulent or deceptive activity. This monitoring

process, in which a processor reviews the transaction activity of its merchants, is known within

the payment processing industry as “shadow monitoring,” the “shadow management process,” or

“back-end monitoring.”

       34.        As part of its shadow monitoring process, First Data maintained access to data



                                                 9
           Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 10 of 48



regarding FPS merchants’ processing activities, which enabled First Data to view and monitor

credit card transactions, including individual transaction details, as well as monthly and year-to-

date summaries of overall transaction and chargeback counts and volume for each merchant

account.

       35.     Wells Fargo’s credit risk guidelines specifically warned about “merchants’

opening of multiple accounts, especially via multiple shell companies having the same or similar

principals (in some cases, hired ‘mules’ with little or no business involvement may be submitted

to obscure the true ownership).” Using multiple merchant accounts for the same business is a

strong indication that a merchant applicant is “load balancing,” a practice in which a business

spreads its transactions among multiple merchant accounts to avoid triggering chargeback

thresholds that would increase scrutiny from the credit card associations.         The practice of

processing credit card transactions through another company’s merchant accounts is called

“credit card laundering” or “factoring” in the credit card industry. It is strictly forbidden by the

credit card associations and is illegal under the TSR.

       36.     As part of its oversight function under the joint credit policy, First Data was also

required to review and approve FPS’s fraud risk management processes, including systems,

reports, and staffing, as well as FPS’s merchant solicitation and underwriting procedures.

           Defendants’ Obligations to Underwrite and Monitor FPS’s Sales Agents
                and to Refrain from Shifting Liability for Merchant Losses

       37.     From at least February 2012 to October 2014, FPS contracted with a variety of

sales agents, or “sub-ISOs,” across the country who specialized in soliciting “high risk”

merchants. An acquiring bank or the credit card associations may designate as “high risk”

merchants engaged in certain lines of business that may be more susceptible to fraud, resulting in




                                                10
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 11 of 48



possible harm to a financial institution and consumers.

       38.     First Data was required to underwrite its ISOs like FPS, as well as sub-ISO sales

agents that referred merchants to FPS. Under the joint credit policy, First Data and FPS were

required to underwrite sub-ISOs, or “sales agents,” through a “complete (full) review” of the

agent, which was the most extensive due diligence review process outlined in the policy. A

complete review included a background check and business history review of the sales agent,

verification of its business references, on-site inspection of the sales agent’s business location,

evaluation of credit score, and verification that the sales agent was registered with Visa or

Mastercard. Additional steps in the due diligence process listed in the joint credit policy were a

BBB ratings review, litigation check, and Internet search analysis.

       39.     The joint credit policy also charged First Data with ensuring that FPS’s sales

agents did not own some or part of the underlying risk on a merchant account – that is, the

liability for merchant losses if chargebacks from consumers exceeded a merchant’s ability to

pay. The policy explicitly forbade such an arrangement: “Under no circumstance should there be

an indirect or hybrid sub-ISO…That is, the sub-ISO…may not own some or part of the

underlying risk.” In other words, FPS was forbidden from assigning liability for merchant losses

to FPS’s sales agents. Some acquiring banks prohibit this practice because an ISO which

disclaims liability for chargeback losses may have less incentive to properly underwrite the

accounts to ensure they are bona fide, creditworthy businesses that are not engaged in fraud.

       40.     During the relevant time period, FPS’s high-risk sales agents included, but were

not limited to: CardReady LLC (“CardReady”), Brandon Becker, James Berland, First Pay

Systems LLC (“First Pay Systems”) f/k/a Electronic Payment Services, Inc., KMA Merchant

Services LLC (“KMA”), Jay Wigdore, Michael Abdelmesseh, and Richard Kuhlmann



                                                11
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 12 of 48



(collectively, “the FPS Agents”).

       41.      Like FPS and First Data, the FPS Agents made fees on the volume of merchants

they boarded and processed.

                                          The Schemes

       42.      As described in detail below, through the FPS Agents, Defendants processed

payments for the following Schemes:

             a. Thrive Learning: From at least February 2012 to February 2014, Defendants

                established merchant accounts and processed payments for Thrive Learning LLC

                and interrelated companies (collectively, “Thrive”). Despite clear indications in

                Thrive’s merchant application packages that the business was a get-rich-quick

                opportunity prohibited by Visa with a history of telemarketing law violations,

                Defendants processed at least $3.5 million in Thrive’s charges to consumers. In

                June 2017, the FTC sued the Thrive entities and entered into stipulated consent

                orders with them that contained a permanent injunction and monetary judgment.

                See FTC v. Thrive Learning LLC et al., No. 2:17-cv-00529-DN (D. Utah 2017).

             b. The Coaching Department: From at least February 2012 to February 2014,

                Defendants opened over 150 merchant accounts and processed payments for an

                enterprise that deceptively marketed work-at-home programs and business

                coaching programs (the “Coaching Department”). Defendants opened scores of

                merchant accounts for the Coaching Department and processed at least $20

                million dollars through the accounts after FPS approved demonstrably false

                merchant applications that listed straw men as business owners and fictitious

                business locations. In February 2014, a federal court in Utah shut down the



                                               12
Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 13 of 48



    scheme, and its operators later agreed to stipulated permanent injunctions and

    monetary judgments. See FTC v. Apply Knowledge LLC et al. (No. 2:14-cv-

    00088-DB) (D. Utah 2014).

 c. E.M. Systems: From at least January 2013 to November 2014, Defendants

    established merchant accounts and processed payments for E.M. Systems &

    Services LLC (“E.M. Systems”) through 26 shell companies. E.M. Systems

    operated a debt relief telemarketing scam that took over $20 million from

    consumers for approximately two years. Defendants opened merchant accounts

    for E.M. Systems’s shell companies based on demonstrably false merchant

    applications that listed straw men as business owners and fictitious business

    locations. Defendants then processed E.M. Systems’ payments through these

    shell accounts, as well as other shell accounts Defendants previously opened for

    the Coaching Department. In 2015, a federal court in Florida shut down the

    scheme, and E.M. Systems and its telemarketers subsequently agreed to a

    stipulated permanent injunction and entry of a partially suspended judgment of

    more than $12 million. See FTC et al. v. E.M. Systems & Services LLC et al., No.

    8:15-cv-01417-SDM (M.D. Fla. 2015).

 d. The Beckish Scheme: From at least February to November 2014, Defendants

    opened and serviced hundreds of merchant accounts for a criminal enterprise

    operated by James Beckish and other individuals (collectively, “Beckish”) that

    used consumer’s stolen credit card data to place at least $28 million in

    unauthorized charges on their bills without their knowledge or consent. First Data

    and FPS opened merchant accounts for the enterprises’ demonstrably false



                                    13
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 14 of 48



              merchant applications, which listed phony websites that purported to sell dietary

              supplements (or “nutraceuticals”) and web hosting services to consumers. Many

              of the applications approved by FPS listed the same maildrop as its business

              location or left the “business description” field blank. Equipped with merchant

              processing accounts, Beckish ran millions of dollars in unauthorized transactions

              on consumers’ credit cards using their stolen card information. In June 2017, the

              U.S. Department of Justice indicted Beckish and associates on charges of wire

              fraud and aggravated identity theft. In October 2018, two of the defendants pled

              guilty to conspiracy to commit wire fraud in connection with a scheme to make

              unauthorized charges on credit cards through sham companies that purportedly

              offered nutraceutical products for sale over the internet. See United States v.

              Beckish, et al., No. 16-cr-00466 (S.D.N.Y 2017).

       43.    By granting and maintaining access to the credit card system with minimal or no

oversight and ignoring direct evidence of illegal conduct, Defendants enabled perpetrators of the

Schemes to initiate millions of dollars in illegal charges to consumers’ credit and debit card

accounts and evade detection by card associations, consumers, and law enforcement.

          DEFENDANTS’ DECEPTIVE AND UNFAIR BUSINESS PRACTICES

         First Data and FPS Opened Hundreds of Straw Accounts for the Schemes
            Based on Facially False, Deceptive, or Blank Merchant Applications

       44.    First Data and FPS established hundreds of merchant accounts for the Schemes in

the names of “straw men” or “mules” who had not given consent to their personal and financial

information being used to apply for merchant accounts and often did not even know that

merchant applications had been submitted in their names. These accounts were used, sometimes




                                               14
          Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 15 of 48



interchangeably, to process consumer payments for the Schemes. First Data and FPS established

these accounts after FPS approved merchant applications that were facially false or deceptive,

contained obvious factual discrepancies or internal inconsistencies, omitted key information

about the merchant applicant’s business, or contained other “red flags,” or obvious indicators of

fraud.

         45.     In some instances, FPS approved merchant applications for the Schemes that had

no business description, no marketing materials, no merchant category code, no employee

information, and no other information identifying the goods or services the merchant offered to

consumers.

         46.     In other instances, First Data and FPS opened accounts after FPS approved

merchant applications that were demonstrably false, contained business descriptions that were

prohibited by its Processing Agreement with Wells Fargo, violated bank or card brand rules, or

demonstrated histories of telemarketing law violations.

               First Data and FPS Opened 100 Straw Accounts for the Beckish Scheme
                               Based on Blank or Copycat Applications

         47.      From January to October 2014, First Data and FPS opened at least 100 merchant

accounts in the names of purported dietary supplement and web hosting companies that never

legitimately sold any products or services. Once opened, these sham accounts were used by the

Beckish Scheme to bill consumers at least $28 million without their consent, using their stolen

credit card data. First Data and FPS opened these accounts after FPS approved merchant

applications that were substantially blank, duplicate, or contained other obvious indicators of

fraud.

         48.     For example, from March to July 2014, First Data and FPS opened at least 20




                                               15
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 16 of 48



accounts after FPS approved merchant applications that were substantially blank and that failed

to provide any required information about the applicant’s business, employees, advertising

method, marketing materials, trade references, or refund policies. All the applications listed the

same mail drop in Grandville, Michigan as the applicants’ business location and were submitted

by the same sales agent. In numerous instances, the only business-identifying information on the

merchant application was a non-functional or fictitious website address.

       49.     During the same time period, from February to September 2014, FPS approved 40

pairs of identical merchant applications.      Each pair had the same purported principal and

merchant name and was opened the same day. Using multiple merchant accounts for the same

business – let alone submitting identical merchant applications – is a strong indication that the

merchant applicant is “load balancing,” a practice in which a business spreads its transactions

among multiple merchant accounts to avoid triggering chargeback thresholds that would increase

scrutiny from the credit card associations.

       50.     These pairs of identical merchant applications also used suspicious billing

descriptors that hid or omitted the merchant’s name. For example, FPS approved merchant

applications for purported nutraceutical and web hosting companies with billing descriptors that

contained no text except for the phone number to an offshore telemarketing call center – e.g.

888-441-2916.COM.       Merchant applicants which fail to use their business name in billing

descriptors are red flags for payment processors, and payment processors who board such

applicants violate credit card association policies intending to ensure that consumers can identify

the business charging their debit or credit cards.




                                                 16
          Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 17 of 48



            First Data and FPS Opened 26 Straw Accounts for the E.M. Systems Scheme
                Based on Facially False Applications and Despite Indicators of Fraud

         51.    From November 2012 to October 2014, First Data and FPS opened at least 26

merchant processing accounts for shell companies that were used by the E.M. Systems Scheme

to charge consumers in a deceptive debt relief scam. First Data and FPS opened these accounts

even though the merchant applications submitted contained facially false statements, direct

evidence, or other red flags that the applicants were not bona fide businesses or were engaged in

fraud.

         52.    In May 2013, for example, First Data and FPS opened a merchant account for a

purported personal budgeting web portal called “Budgeting Insights.” Despite the objection of a

FPS staff member who noted that the web portal was “not operable” and “identical to the website

for Insightful Budgeting,” another shell entity used by the E.M. Systems Scheme, the account

was opened.

         53.    In July 2013, First Data and FPS opened a merchant account for Del Rey Products

LLC, a purported personal finance coaching business. Even after FPS staff acknowledged that

the application falsely described the merchant’s business and that it was in fact “offering credit

repair/restoration services, which is an unqualified business type,” the account was opened the

same day.

         54.    First Data and FPS also opened two merchant accounts for Level Services LLC

after FPS approved contradictory merchant applications. In the first application, the company

purportedly had a first-floor storefront with 20 employees, while the second application

described a second-floor storefront with five employees. Neither application listed a business

address that matched the location description. In regard to the second account, FPS staff noted




                                               17
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 18 of 48



that “some of the information on the MPA [merchant processing agreement] does not match the

merchant’s driver’s license.” Despite staff’s email, the account was opened later the same day.

       55.     In October 2013, First Data and FPS opened a merchant account in the name of

Sensible Budgeting. According to the merchant application, Sensible Budgeting operated a

storefront on 2-4 floors with numerous employees, yet the listed business address was a

residential apartment unit.

       56.     In February 2014, First Data and FPS opened an account in the name of Intuitive

Budgeting, a business that purported to have 2-4 floors of office space, yet the listed business

address was a single floor residential apartment unit.

First Data and FPS Opened 150 Straw Accounts for the Coaching Department Scheme Based on
           Facially False or Deceptive, Blank, or Internally Inconsistent Applications

       57.     From at least March 2012 to February 2014, First Data and FPS opened over 150

merchant processing accounts for shell companies that were used by the Coaching Department

Scheme to charge consumers in a deceptive business coaching operation, based on merchant

applications that contained false statements, internal inconsistencies, or other hallmarks of fraud.

       58.     In March 2012, for example, First Data and FPS opened an account for Vi-

Education LLC, a purported “online education and training” website, even though the website

listed on the merchant application was non-functional.         The application also included an

outbound telemarketing sales script, yet FPS approved the account without registering the

merchant as an outbound telemarketer, in violation of Visa and Mastercard policies.

       59.     Also in March 2012, FPS approved an account for Gila Marketing LLC, another

purported online training website, based on a partially blank merchant application that omitted

information about the applicant’s business site, number of employees, or refund policies.




                                                 18
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 19 of 48



Moreover, a website screenshot attached to the application did not match the web address listed

in the body of the application.

       60.     In May 2012, FPS received a merchant application for Meacham Moose LLC, a

purported online education company doing business as Partner Education. According to the

application, the company operated in a commercial office space with five employees, yet the

listed business address was a residential home. First Data wrote to FPS with concerns that “the

business name does not match the [merchant account name].” Despite these reservations, First

Data and FPS opened the account.

       61.     In August 2012, First Data and FPS established a merchant account for

Nesch.edu, a purported financial coaching business, after FPS approved an apparently doctored

application and despite the applicant’s prior termination for excessive chargebacks for the same

business activity. In the application, the “business name” field was whited-out and handwritten,

while the rest of the application was typed. The business location was described as an office

with 2-4 floors, yet the address provided was a single-floor residential apartment unit. After

receiving the application, FPS emailed internally, noting that the application had a prior account

under a different business name that was closed two weeks earlier for excessive chargebacks and

refunds: “the new application’s business model is the same as the previous account.” Yet days

later, FPS approved the new account and First Data began processing its charges. In fact, both

accounts were used by the Coaching Department to bilk consumers as part of a deceptive

telemarketing scam.

       62.     In April 2013, First Data and FPS opened four merchant accounts based on

applications that listed identical mail drops as their business locations, contained identical

marketing materials, and included identical articles of incorporation.



                                                19
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 20 of 48



 First Data and FPS Opened Accounts for Thrive Learning Despite Evidence That It Was a Get
              Rich Quick Scheme with a Record of Telemarketing Law Violations

       63.        First Data and FPS opened at least four merchant accounts for the Thrive

Learning Scheme based on applications that described business practices that were illegal,

suspicious, or prohibited by Wells Fargo and the credit card associations.

       64.        Under the Processing Agreement, FPS was prohibited from boarding specific

“illegal or likely to be deemed illegal” businesses, which included “get-rich-quick

opportunities.”

       65.        In February 2012, FPS approved a merchant application for Thrive LLC that

stated that the company was a “100% telephone order merchant” and included a telemarketing

sales script that promised consumers could “make some quick cash on Ebay.” The application

package also contained a “Government Action” notice from Thrive’s Better Business Bureau

profile describing a 2009 law enforcement action against Thrive by the State of Utah regarding

its practices of telemarketing business coaching services with “guarantees or promises of success

or money back.” By May 2012, FPS had approved at least four additional merchant accounts for

Thrive with the same principal, merchant name, address, DBA or website.            Three of the

applications identified Thrive LLC as the applicant’s parent corporation and vendor and attached

bank statements or tax returns for Thrive LLC.

                     All Four Schemes Came From FPS Sales Agents Who
                  Had Publicly-Available Criminal or Problematic Backgrounds

       66.        Under First Data and Wells Fargo’s joint credit policy, First Data and FPS were

required to underwrite sub-ISOs, or “sales agents,” through a “complete (full) review” of the

agent, which was the most extensive due diligence review process outlined in the policy. A

complete review included a background check and business history review of the sales agent,



                                                 20
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 21 of 48



verification of its business references, on-site inspection of the sales agent’s business location,

evaluation of credit score, and verification that the sales agent was registered with Visa or

Mastercard. Additional steps in the due diligence process listed in the joint credit policy were a

BBB ratings review, litigation check, and Internet search analysis.

       67.      First Data and FPS failed to adequately underwrite or conduct due diligence on

the FPS Agents who submitted merchant applications for the Schemes. In fact, many of these

agents had criminal backgrounds or problematic business profiles at the time they contracted

with FPS. This information was obtainable through basic due diligence, such as public records

searches or background check services.

       68.      FPS Agents Jay Wigdore, Richard Kuhlmann, and KMA, a company operated by

Wigdore and Michael Abdelmesseh, submitted merchant applications for the Beckish Scheme.

At the time they began submitting applications to FPS in January 2014:

             a. Wigdore had federal criminal convictions in 1995, 2000, and 2003 for mail fraud,

                bank fraud, and conspiracy to commit fraud. Wigdore’s illegal conduct was also

                highlighted in the FBI’s publicly available 2004 “Financial Institution Fraud and

                Failure Report.” At the time Wigdore contracted with FPS, his convictions were

                public and the FBI report was available on the Internet.

             b. KMA maintained an “F” ranking with the Better Business Bureau (“BBB”) for at

                least two years prior to contracting with FPS. KMA’s ranking was publicly

                available on the BBB’s website at the time it began referring merchants to FPS

                and First Data.

             c. Kuhlmann was subject to numerous publicly available civil judgments and tax

                liens during the five-year period before becoming an FPS sales agent.



                                                 21
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 22 of 48



       69.     From March 2012 to July 2014, FPS Agent CardReady submitted merchant

applications for the E.M. Systems, Coaching Department, and Thrive Learning Schemes. At the

time it contracted with FPS, in February 2012, CardReady and its CEO faced an unpaid civil

judgment of approximately $700,000 for breach of contract that was public record. CardReady

was also named as a defendant in a fraudulent conveyance action that was public record during

the time period it referred merchants to FPS and First Data.

       70.     Provisions in FPS’s contracts with its agents also violated Wells Fargo and First

Data’s joint credit policy, which prohibited sales agents from personally guaranteeing or

otherwise accepting the risk of loss on merchant accounts. According to the contracts, the FPS

Agents retained some or all of “the risk,” or liability for merchant losses that resulted from

consumer chargebacks. An ISO’s assigning to a sales agent liability for chargeback losses on

high-risk merchant accounts was not only prohibited by Wells Fargo and First Data, but is a

strong indicator that the ISO is aware that the merchant applicants referred by the sales agent are

generating, or likely to generate, excessive rates of chargebacks. First Data failed to timely or

adequately review FPS’s contracts with the Agents, which would have revealed a risk-sharing

arrangement that was in direct conflict with its own rules.

       71.     First Data ignored publicly available information and failed to conduct adequate

due diligence or underwriting measures to learn about the FPS Agents’ criminal pasts,

problematic histories, and improper contracts, all of which violated Wells Fargo’s and First

Data’s policies. As a result, the FPS Agents were allowed to submit merchant applications for

the Schemes into the credit card system, costing consumers millions of dollars in illegal charges.




                                                22
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 23 of 48



          FPS’s President Knowingly Approved or Directed His Staff to Approve,
                False or Deceptive Merchant Applications for the Schemes

             Ko Told Staff to Unconditionally Approve Applications from CardReady

       72.     In early 2012, FPS underwriting staff told Ko in numerous meetings that certain

sales agents appeared to be submitting false or deceptive merchant applications to FPS. During

one or more of these meetings, FPS staff described to Ko their prior business dealings with one

of the FPS’s sales agents, CardReady, including instances in which CardReady had submitted

false or deceptive merchant applications to other ISOs.       FPS staff and Ko also discussed

CardReady’s reputation within the payment processing industry as being associated with

consumer fraud. Rather than addressing the concerns raised in the meetings, Ko instructed staff

to unconditionally approve merchant applications from CardReady, which included accounts for

the Coaching Department, E.M. Systems, and Thrive Schemes.

       73.     On numerous other occasions in 2012, an FPS manager told Ko that the

underwriting department had detected groups of prospective merchant applications from

CardReady that appeared to be shell companies or whose applications contained false

information. In numerous instances, Ko ignored the manager’s concerns and instructed her to

approve and open accounts for the identified fraudulent applications.

       74.     Later still in 2012, additional FPS staff members told Ko that they refused to sign

off on merchant applications that FPS had received from CardReady because they contained

false or deceptive information. At or around the same time, Ko bypassed FPS’s underwriting

department and directed CardReady to submit merchant applications directly to Ko or to FPS’s

new accounts department. After such submissions, Ko or staff in the new accounts department

would rubber stamp the applications. Ko told CardReady’s CEO to send FPS more high-risk




                                               23
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 24 of 48



business throughout 2013, which included accounts for the Coaching Department and E.M.

Systems Schemes.

       75.     In August 2013, Ko received an email from CardReady advising him that the

billing descriptor for an E.M. Systems merchant account needed to be changed so it could be

used to process transactions for a separate business that sold dietary supplements. FPS switched

the billing descriptor and processed transactions through the account under the new billing

descriptor. A merchant’s use of multiple billing descriptors to mask the merchant’s true identity

or activity is a common tactic used by fraudsters to evade scrutiny by the credit card associations

and law enforcement. At the time FPS processed for the Schemes, Wells Fargo’s credit risk

guidelines specifically warned that multiple billing descriptors were a “tactic[] to evade

chargeback monitoring programs.” (emphasis in original).

                     Ko and FPS Ignored Evidence that First Pay Systems
                 Was Submitting Fraudulent Merchants For the Beckish Scheme

       76.     In December 2013, FPS entered negotiations with another sales agent, First Pay

Systems LLC (“First Pay Systems”) f/k/a Electronic Payments Services Inc., to board more high-

risk merchants. During the negotiations, FPS’s director of risk and underwriting emailed Ko that

First Pay Systems’ principal Richard Kuhlmann had “overloaded the New Application email

box” before a signed sales agreement was in place. The email continued: “We mUST (sic) have

an agreement where he is taking liability.” In January 2014, FPS executed an agreement with

First Pay Systems to split 50/50 all fee revenue and liability for merchant losses in direct

violation of Wells Fargo and First Data’s joint credit policy.

       77.     In February 2014, Ko received a background report showing that First Pay

Systems’ principal Jay Wigdore had federal criminal convictions in 1995, 2000, and 2003 for




                                                 24
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 25 of 48



mail fraud, bank fraud, and conspiracy to commit fraud, including convictions related to

falsifying credit applications and credit bureau reports. Yet after receiving the report, Ko and

FPS continued to accept merchant applications from Wigdore and First Pay Systems, including

accounts for the Beckish Scheme.

       78.    In June 2014, Ko received a letter from a merchant claiming that proceeds from

his business had been diverted into a merchant account fraudulently boarded by First Pay

Systems, Wigdore, and Richard Kuhlmann:

             Your Arizona affiliate [First Pay Systems] is a rogue agency and apparently a
             criminal enterprise…

             The Agent submits false applications containing cut and paste bank checks
             designed to purportedly represent the merchant acct. when in reality the funds are
             diverted back to themselves…

             They submit phony web sites that do not represent the true nature of the
             merchant’s business, knowing the correct website would not qualify…There are by
             in large known, illegally operated company’s (sic) that cannot obtain a merchant
             acct. by legitimate means…

             They are the subjects of state and federal investigations (see subpoena).

             In the Nutraceutical space and others, they illegally compile large amount of
             ‘nominee’ applicants designed to circumvent chargebacks, returns and illegally
             ‘load balance’ a merchant’s processing….

             They have committed theft, forgery, ID theft, bank fraud, and money laundering
             offenses. My money has been diverted to bank accounts to which I’m not even a
             signer.

             Jay Wigdore…and Richard Kulhman (sic) have criminal records. Kulhman has
             been ‘black balled’ everywhere in this industry with the exception of [FPS].

       79.    After Ko received and forwarded the letter to FPS’s director of risk and

underwriting, FPS continued to open merchant accounts submitted by Wigdore, Kuhlmann, and

First Pay Systems – including approximately 50 new accounts for the Beckish Scheme – until it




                                               25
           Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 26 of 48



was forced to stop in November 2014, at or around the time that Wells Fargo terminated its

Processing Agreement with FPS and First Data.

       80.     By accepting, approving, and submitting to Wells Fargo merchant applications

from the FPS Agents that he knew, consciously avoided knowing, or should have known

contained false or deceptive information, Ko allowed the Schemes to process payments from

consumers through hundreds of shell companies. This practice prolonged the Schemes’ harm to

consumers by obscuring their true perpetrators, enabling the Schemes to evade law enforcement

and industry controls.

     First Data and FPS Continued to Process for the Schemes Despite Red Flags and
              Direct Evidence that Their Merchants Were Engaged in Fraud

       81.     After the Schemes’ merchant accounts were opened, First Data and FPS

processed payments through the accounts even in the face of direct evidence or strong indicators

that the underlying merchants were deceiving consumers, engaging in illegal activity, conducting

business prohibited by the credit card associations, or accruing exorbitant chargeback rates. For

example:

            First Data and FPS Processed Millions for the Beckish Scheme Despite
       Evidence that Its Purported Nutraceutical and Webhosting Merchants Were Phony

       82.     In March 2014, First Data and FPS began processing for a group of purported

dietary supplement, or “nutraceutical,” merchants who were boarded the same day and had

almost identical phone numbers and billing descriptors. A few weeks later, First Data flagged

the accounts as experiencing a “high amount of chargebacks” and asked FPS, “why [do] they

have multiple accounts?”     In May 2014, Wells Fargo identified the group of purported

nutraceutical merchants as fraudulent and interrelated, and Visa placed the merchants in its

chargeback monitoring program. By this time, First Data and FPS had processed over $3 million



                                               26
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 27 of 48



through the accounts.

       83.      In response, Wells Fargo banned FPS from boarding any nutraceutical accounts

and noted in a presentation to First Data about the incident: “FD’s actions – none; in fact, even

when prompted to look for red-flags, no connection was made.” (Emphasis in original).

       84.      Yet after the incident, First Data continued to process transactions through FPS’s

purported nutraceutical accounts throughout 2014.         A June 2014 risk monitoring report

circulated internally at First Data identified numerous clusters of FPS merchant accounts that

were   using     apparently   nutraceutical-related   websites   and   billing   descriptors   (e.g.,

PerfectSlimmingX.com / PRFCTSLMMNGCX), were opened on the same day under the same

or similar merchant names, and had accrued excessive chargebacks. For example:

             a. The report identified eight FPS nutraceutical accounts with related billing

                descriptors under the name JRC Capital or JRS Capital that had processed

                approximately $340,000 with an average combined chargeback and refund rate of

                8%. After receiving the report, First Data continued to process an additional

                $425,000 through the accounts.

             b. The report identified four FPS nutraceutical accounts opened the same day under

                the name Finn Holdings that had an average 6% combined chargeback and refund

                rate. First Data continued to process an additional $250,000 through the Finn

                Holding accounts after receiving the chargeback and refund information.

             c. The report identified two FPS nutraceutical accounts boarded on the same day in

                April 2014 under the name HN Marketing LLC. Within weeks of opening, the

                account had processed approximately $30,000 with an average combined

                chargeback and refund rate of 5.75%. After receiving this information, First Data



                                                 27
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 28 of 48



               continued to process an additional $330,000 through the accounts through

               September 2014.

       85.     First Data also received early indications that numerous purported webhosting

accounts were experiencing high chargebacks and refunds in the first weeks of opening, yet

continued to process millions of dollars through the accounts. For example, First Data received

information in June 2014 indicating that a merchant whose DBA was Glorious-Hosting.com had

a combined chargeback refund rate of 6% within its first month of processing. Despite this red

flag, First Data continued to process an additional $380,000 through the account until it was

identified by Wells Fargo as one of the “First Pay bad accounts” in September 2014.

       86.     In July 2014, First Data emailed internally that FPS had boarded approximately

25 more merchants that were “a string of new ‘webhosting’ accounts being opened by same

owner located in Panama. All accounts have same NOB [nature of business] and webpage

design. All accounts are new and have all fraud related chargebacks.” In August 2014, a Wells

Fargo risk manager emailed a First Data’s risk director about the accounts, noting that [w]hen we

called one of the toll free numbers they advised they were a call center that provides customer

service for over 3,000 merchants. They appeared to be offshore …would appear to be in

Panama.”     Around the same time, a First Data risk manager emailed FPS’s director of

underwriting and First Data’s vice-president of risk management:

       We have an issue brewing with a large amount, dozens of recently boarded accounts.
       Recently we have seen a large amount of Webhosting accounts that have been boarded by
       [FPS]. All are the same business models with similar websites. All websites were
       opened by the same registrant and acquired offshore. The registrant is opening these
       Webhosting Accounts from a location based in Panama. This is easily confirmed by
       searching godaddy.com…They all are receiving fraud related chargeback’s (sic).

       87.     Despite these overt indicators of fraud, First Data and FPS continued to process




                                               28
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 29 of 48



over $17 million in unauthorized charges through these webhosting accounts after they were

flagged as deceptive.

               First Data and FPS Processed for the Coaching Department Scheme
               Despite Evidence that its Merchants were Interrelated and Deceptive

       88.     In April 2012, First Data emailed FPS about 10 business coaching accounts that

had accrued combined refund and chargeback ratios of 27–36%:              “[T]he [web]sites have

identical terms and conditions and refund language. It goes right down to the same

misspellings… All were boarded in February, have the same business model, are located in the

same areas…and use identical terms and conditions. In addition all accounts have chargeback

and refund issues.” Disregarding these red flags, First Data and FPS continued to process at least

$3.2 million in illegal charges through these accounts after they were identified.

       89.     In June 2012, a First Data risk director told FPS about a similar suspicious

business coaching account boarded by FPS: “I believe the account is unqualified due to

deceptive marketing practice…[I]ts website vi-education.com has had its registration expire with

GoDaddy.com so it is suspended and available for sale.” Despite these indicators of fraud, First

Data and FPS continued to process consumer payments for the account through September 2012,

processing an additional $1.3 million in consumer charges after the entity was flagged as

deceptive.

       90.     In June 2012, a First Data risk manager flagged another business coaching

account with the same characteristics that had an 11% chargeback ratio for May 2012,

expressing concerns about likely fraudulent activity. Despite the manager’s concerns, First Data

continued to process for the account until October 2012, processing an additional $500,000 in

illegal charges.




                                                29
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 30 of 48



       91.    In September 2012, First Data and FPS began processing transactions for

Nesch.edu (“Nesch”), another purported financial coaching business, even while FPS

acknowledged internally that a prior merchant account for Nesch was closed in August 2012

“due to excessive chargebacks and high refunds” and the new application’s business was “the

same model as the previous account.” Defendants continued to process approximately $330,000

through the account, from September 2012 to February 2013.

                  First Data and FPS Processed for the E.M. Systems Scheme
                         Despite Evidence of Deceptive Telemarketing

       92.    In April 2013, First Data emailed FPS about a newly boarded merchant, Martan

LLC (“Martan”), that was experiencing excessive chargebacks and a “large amount of

cardholder disputes” for “non-receipt of services” and “fraud related reasons.”         Despite

observing these indicators of fraudulent activity, First Data and FPS continued to process

$470,000 through the account until October 2013.       In November 2013, First Data flagged

another Martan account as having a 5% chargeback rate for non-receipt for services, yet

Defendants continued to process an additional $1.4 million in consumer charges through the

second account until February 2014. In all, First Data and FPS processed over $1.8 million in

fraudulent transactions for Martan after First Data first identified the company as deceptive in

April 2013.

       93.    In October 2013, First Data and FPS exchanged emails about excessive

chargebacks on an account for “Today’s Financial Living.” In November 2013, First Data told

FPS that Today’s Financial Living had a 6% year-to-date chargeback ratio for “non-receipt of

services.” Disregarding these indicators of fraud, Defendants continued to process an additional

$1 million for Today’s Financial Living until February 2014.




                                              30
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 31 of 48



       94.    In April 2014, First Data and FPS discussed chargeback notifications stating that

a purported household budgeting service called Conserved Budgeting boarded just weeks earlier

was telemarketing debt reduction services and that consumers were not receiving the services as

promised. Again, in June 2014, First Data told FPS that Conserved Budgeting’s purported

website was non-functional, and that Mastercard had reported fraud sales in March and April

2014 for “non-receipt of services.” Despite this evidence of consumer deception, Defendants did

not stop processing transactions through the account until mid-September 2014, even as the

merchant accrued an overall chargeback ratio of 6.35%, reaching 17.2% in July 2014.

Defendants processed over $1.1 million in consumer payments through the account after

receiving notice of Conserved Budgeting’s improper practices in April 2014.

    First Data and FPS Processed for the Thrive Accounts Despite Overt Indicators of Fraud

       95.    In July 2012, a First Data credit officer emailed an FPS risk manager: “I also did a

check on [Thrive LLC] and found numerous complaints against them along with government

action. I am having our credit policy review this as well, to assure it fits [First Data] credit

policy.” The email included numerous links to online consumer complaint boards and blogs that

identified Thrive and affiliates as the perpetrators of numerous business coaching telemarketing

scams. One of the blogs listed in the email, http://thrivescammedme.blogspot.com, displayed an

entry titled “How Obtain a Refund If You’ve been Scammed by Thrive or Their Affiliates” and

included model refund request letters for Thrive victims and contact information for the FTC,

FBI, and Better Business Bureau (“BBB”). Another post on the blog was titled “Beware of

Thrive Learning LLC and Affiliates” and included a consumer’s first-person account of their

experience with a Thrive telemarketer. The account described “high pressure sales calls” that

promised that the consumer would “make between $100,000 and $250,000 per year with [their]



                                               31
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 32 of 48



website, or online store, utilizing drop shipping services.”    According to the account, the

consumer made no money and was unable to obtain a refund from the company. First Data’s

email also identified and described a consent decree entered into by Thrive LLC and the Utah

Division of Consumer Protection involving telemarketing claims.

       96.    Despite these indicators of deceptive practices, Defendants continued to process

consumer payments through Thrive LLC’s merchant account and at least three other accounts

whose application packages identified Thrive LLC as their parent corporation and vendor. In

February 2013, Thrive LLC’s merchant account generated a combined chargeback and refund

rate of at approximately 7.5%. The rate remained constant through April and May 2013, grew to

9% in July 2013, and reached 62% in August 2013. Defendants continued to process consumer

payments through the Thrive LLC account until October 2013.

                First Data’s Internal Records Demonstrate Awareness and
              Disregard of FPS’s Systemic Boarding of Fraudulent Merchants

       97.    First Data’s internal records indicate that First Data was aware of, and chose to

ignore, repeated warnings about FPS’s systemic boarding of fraudulent merchants.

                 First Data Questioned the Adequacy of FPS’s Controls in 2012

       98.    In April 2012, First Data internally identified a group of merchants boarded by

FPS who were marketing business coaching services and had accrued excessive chargebacks.

After raising concerns that the accounts were interrelated and submitted by the same sales agent,

a First Data senior risk manager escalated the issue to her supervisor to “see if we are

comfortable working with this ISO relationship.” In May 2012, the supervisor emailed FPS

about its problematic merchant activity and noted, “I have reviewed the accounts with Senior

Management.” In fact, these accounts were shell entities for the Coaching Department Scheme.




                                               32
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 33 of 48



       99.     In August 2012, based on the boarding of these accounts, Wells Fargo and First

Data classified FPS as an “Excessive Risk ISO.” The Excessive Risk ISO Program is a remedial

program in which an ISO that violates certain bank and card brand policies is subjected to

heightened monitoring. The heightened monitoring included monthly meetings between Wells

Fargo and First Data risk management staff who produce “scorecards” that track the ISO’s

processing statistics and policy compliance. FPS was placed into the program based on its

boarding of merchant accounts with excessive chargebacks.

       100.    In September 2012, a First Data risk manager wrote in an internal email about

FPS, “I would scrutinize anything that comes from this ISO, based on [its] record.”

       101.    In October 2012, a First Data risk manager summarized her concerns about FPS

in an email to First Data’s regional business director: “[A] review of the ISO portfolio and the

dramatic increase in overall chargeback activities insinuated that the ISO are [sic] not addressing

and terminating problematic accounts in a timely manner.” The risk manager noted that FPS had

submitted a remediation plan to address its “risk monitoring failures,” but that the plan “did not

address the root cause for signing unqualified accounts and preventive steps to ensure that this

does not happen again.”

       102.    In December 2012, Wells Fargo and First Data identified approximately 65

merchants for the Coaching Department Scheme with “identical business models” engaged in

“deceptive marketing and/or billing practices due to non-disclosure of auto rebilling practices to

cardholders” with 2012 year-to-date chargeback ratios ranging from approximately 14 to 33%.

       103.    In January 2013, as part of the Excessive Risk ISO review process, Wells Fargo

and First Data graded FPS as a “Fail” and cited 70 card brand policy violations in 2012. In the

remediation plan for FPS, First Data and Wells Fargo designated “Self-Cure” as the remediation



                                                33
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 34 of 48



needed, while the “Enhanced Oversight” field was marked “No.”

  Law Enforcement and Industry Players Warned First Data about Fraudulent Accounts at FPS
                  Yet First Data Continued to Process for FPS Merchants

       104.    In October 2012, First Data was contacted by the Utah Attorney General’s Office

in connection with FPS merchants for the Coaching Department Scheme that had scammed

consumers.

       105.    In February 2013, First Data was contacted by Canadian law enforcement

authorities about FPS merchants for the E.M. Systems Scheme who were processing charges for

a scam in which telemarketers promised to lower the consumer’s credit card interest rates yet

provided no services, as well as other FPS merchants who were billing consumers for

nutraceutical products that consumers never purchased.

       106.    In April 2013, Wells Fargo arranged a meeting with First Data and FPS staff

about growing concerns with the FPS merchant portfolio. In discussion points emailed to First

Data, Wells Fargo identified the issues and concerns to be discussed at the meeting as FPS’s

“boarding of unqualified accounts” and FPS’s “merchant accounts engaged in deceptive

practices.”

       107.    In an attachment to the email, Wells Fargo identified names of over fifty FPS

merchants which it said were either recently terminated, cited for engaging in outbound

telemarketing, or were unqualified businesses under Visa rules, including accounts for the

Coaching Department and E.M. Systems Schemes. Wells Fargo also warned First Data in an

April 2013 email that FPS was “now dabbling into the risky nutraceutical; pseudo-

pharmaceutical space,” which was a banned category of business under Wells Fargo’s credit

policies when marketed with free-trial offers.




                                                 34
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 35 of 48



       108.    Wells Fargo, FPS, and First Data staff met in April 2013 at the Electronic

Transactions Association Conference in New Orleans, Louisiana, to discuss FPS’s problematic

underwriting practices and merchants who were engaged in deceptive practices.

               First Data Loosened Oversight of FPS by Tripling Its Concurrence Level,
                        Even As FPS Continued to Board Deceptive Merchants

       109.    Under the Processing Agreement, FPS was permitted to independently board and

process high-risk merchants with annual transaction volumes of $1 million or less without

obtaining prior approval or “concurrence” from First Data and Wells Fargo.

       110.    In July 2013, despite mounting problems with FPS’s underwriting and boarding

fraudulent merchants, First Data tripled FPS’s concurrence level, permitting FPS to

independently approve and open with no prior approval “any high-risk merchant” which First

Pay anticipated would have less than $3 million in annual Visa and Mastercard volume.

       111.    First Data allowed FPS to maintain a $3 million concurrence level for the

remainder of the processing relationship, until Wells Fargo terminated FPS in November 2014.

           Even After Wells Fargo and First Data Named FPS an Excessive Risk ISO For the
                Second Time, First Data Still Tried to Grow FPS’s High-Risk Business

       112.    In December 2013, Wells Fargo notified First Data that several FPS merchants

had been placed in Visa’s chargeback monitoring program in October 2013 and December 2013

for boarding unqualified nutraceutical accounts. At or around the same time, Wells Fargo

designated FPS as an Excessive Risk ISO for the second time since August 2012.

       113.    In December 2013, in response to the designation, First Data created a report on

FPS that identified five “unqualified or prohibited” accounts that were selling nutraceuticals and

debt relief services, including merchants for the E.M. Systems Scheme, noting that “a merchant

is selling a package for debt reduction – offering to lower interest on credit cards.” First Data



                                               35
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 36 of 48



emailed FPS about its failure to adequately underwrite the accounts, noting that FPS had failed to

review the merchant applicants’ websites and failed to detect that one of the merchants “had

done this before” and was “an internal match due to chargeback issues.”

       114.    In January 2014, Wells Fargo and First Data met to discuss the recent boarding of

unqualified accounts. Days after the meeting, a First Data senior risk director sent a status report

on FPS to First Data’s vice-president of payment card compliance and others at First Data and

Well Fargo:

               “First Pay has been coroneted Excessive Risk ISO for the second time around… It
               appears the ISO still has gaps within their risk monitoring and underwriting
               processes…

               While a profitable organization, the ISO is falling short on the required standards
               to effectively manage their portfolio below excessive risk status…

       115.    Despite these concerns, just two weeks later, First Data identified FPS as an “ISO

with Opportunities” (emphasis in original) in a sales presentation that directed sales

representatives to increase boarding of merchants in “undersold markets.” The presentation was

part of a 2014 First Data sales initiative to further penetrate high risk markets such as

nutraceuticals, “investment programs,” “fortune tellers,” “mail order brides,” “massage parlors,”

online gambling, outbound telemarketers, and “pyramid” multi-level marketers. First Data’s

senior credit officer emailed First Data’s vice-president of risk management about the

presentation, asking, “Are the suggested ISOs OK, meaning are they clean?”

       116.    Despite these reservations, in March 2014, First Data awarded Ko and FPS

membership in its President’s Club, the highest sales distinction reserved for First Data’s top

producing clients.

       117.    In June 2014, First Data’s director for alternative markets emailed Ko directly




                                                36
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 37 of 48



about the potential for FPS to grow business in undersold markets, noting that they were an

“excellent revenue outlet source.”

                First Data Continued Processing for FPS’s Fraudulent Merchants
                       Until It was Forced to Stop by Wells Fargo and Visa

       118.    In May 2014, Wells Fargo, First Data and FPS participated in a conference call to

discuss FPS’s continued high chargebacks and boarding of fraudulent merchant accounts. After

the call, First Data’s director of credit risk management emailed First Data’s vice-president of

compliance, as well as Wells Fargo’s senior vice-president of acquiring sponsorship and vice-

president of risk management, stating that the call “revealed that the ISO [FPS] has critical gaps

within their underwriting and risk management processes.” Around the same time, Wells Fargo

met with First Data about its failure to connect and monitor FPS’s fraudulent merchant accounts.

A Wells Fargo Power Point presentation from the meeting, sub-titled “First Data’s responsibility

to keep ISOs clean,” noted:

               “FD [First Data] appears to be concerned about ISOs’ financials, not merchants’
               activities and associated risks; The focus appears to be on loss risk not
               reputational and or regulatory (FTC); FD is not making connection to seemingly
               related accounts. The risks are substantial.”

       119.    In June 2014, First Data conducted an on-site audit of FPS for the first time since

entering the Processing Agreement in 2010, despite Wells Fargo and First Data’s own

requirement that their ISOs receive an annual site visitation. First Data concluded in its audit

report that

               “[FPS] failed to identify fraudulent businesses…and does not have the
               appropriate processes, risk expertise, tools and/or independent oversight to
               effectively assess, monitor and manage risk associated with high risk e-
               commerce.” (emphasis in original).

       120.    After reaching this conclusion, First Data continued to process over $50 million




                                               37
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 38 of 48



through FPS’s high-risk e-commerce accounts with an average chargeback ratio of 22.7% over

the next five months, including millions of charges for the E.M. Systems and Beckish Schemes.

       121.    In July 2014, a First Data risk management director emailed First Data’s regional

business director and vice-president of risk management about FPS: “I am aware this ISO has

had issues in the past with excessive chargebacks and unqualified accounts.”

       122.    In August 2014, Wells Fargo contacted First Data’s vice-president of risk

management about 269 FPS “suspect bad merchants” that had been identified in a request for

information from Visa, including merchant accounts for the Thrive Learning, E.M. Systems, and

Beckish Schemes. Wells Fargo noted that they “that appear to have been opened solely to funnel

fraudulent transactions.”

       123.    In September 2014, Visa’s head of global brand protection contacted Wells Fargo

and First Data regarding scores of FPS merchant accounts it believed were running a fraudulent

billing scheme based on a review of online consumer complaint boards. In response, Wells

Fargo provided Visa with processing statistics for the suspected merchants, noting that the

accounts identified had an aggregate chargeback ratio of approximately 32% in August 2014. A

Wells Fargo report sent to First Data’s risk management director noted:

               “Visa is currently investigating numerous accounts recently boarded, 16 accounts
               are being investigated due to excessive disputes from card issuing bank, 55
               accounts which processed over 12,000 chargebacks are being considered for
               VISA HRMCP program and approximately 200 accounts were identified for
               fraudulent activities. Overall, processing statistics is trending negatively;
               chargebacks have increased 10 times over within the last 6 months.”

In fact, these were merchant accounts for the Beckish Scheme.

       124.    Around the same time, Wells Fargo’s senior vice-president of acquiring

sponsorship forwarded an email from Visa to a First Data vice president of security and risk




                                               38
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 39 of 48



management: “What steps did First Data take to validate the true validity of the principals?”

First Data’s regional business directors and risk management directors also emailed Ko directly

about the Visa inquiry.

       125.    In September 2014, Wells Fargo notified FPS and First Data that it would

terminate the Processing Agreement in November 2014. In response to the planned termination

by Wells Fargo, First Data and FPS sought a new acquiring bank to sponsor FPS’s processing

activity. First Data’s vice-president of ISO sales emailed internally that “Vincent texted me on

Friday that he has a clearing bank, wants an FSP [full service processing] agreement and a DB

[Deutsche Bank] wholesale start-up.” First Data’s senior vice-president of ISO client sales

replied, “Good.”

       126.    In October 2014, Wells Fargo’s executive vice-president emailed First Data’s

corporate parent, First Data Corporation’s (“FDC”), general counsel, asking,

               “Why is First Data signing ISOs like [First Pay]? They are going to get First Data
               and Wells Fargo in trouble with the FTC and CFPB due to consumer deceptive
               practices…we cannot continue to sponsor First Data’s ISO business if there is no
               oversight, processes and good policies in place.”

       127.    The same month, Wells Fargo noted in a PowerPoint presentation that First Data:

               “Failed to identify fraudulent accounts during the file review segment of their
               visit at First Pay;
               Missed the use of non-compliant descriptors;
               Slow to react to a severe increase in cb [chargeback] numbers;
               Failed to identify an influx of very unusual, new accounts being boarded…
               FD [First Data] does not perform physical reviews neither (sic) at underwriting or
               annually.”

       128.    In October 2014, First Data sent a letter to Ko advising that FPS had 200,000

chargebacks in 2014 and that First Data was increasing FPS’s reserve account to $10 million.

Around the same time, First Data proposed to Wells Fargo to extend the termination date of the




                                               39
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 40 of 48



Processing Agreement in order to acquire and process for FPS’s retail merchant accounts, i.e.

accounts other than high-risk accounts.       First Data’s vice-president of security and risk

management emailed First Data’s chief credit officer about the proposed extension:

               “Do we really want to do this?... [W]e are not sure that we agree that this ISO was
               being duped by a sales agent and had poor risk management processes…

               First Pay has been on the problem ISO list since 2012…[First Data Risk
               Management] uncovered multiple accounts in 2012 where they have been asked
               to close accounts for Continuity/Negative Renewal, Chargebacks, ecommerce,
               etc…

               It seems like they have been in this business for awhile….”

       129.    First Data did not stop processing for FPS’s high-risk merchants until October

2014, when termination of the Processing Agreement was imminent. “This was accomplished

by shutting off [Ko’s] system access,” a First Data risk director told Wells Fargo.

       130.    The Processing Agreement terminated in November 2014. After the termination,

First Data’s vice-president of risk management identified almost 100 FPS merchants boarded in

2014 that had “NO sign of a product/service.”

              First Data and FPS’s Conduct Triggered Remedial Action by Visa

                Visa Required First Data to Pay $18.7 Million in Restitution and
               Banned the Company from Boarding ISOs or High-risk Merchants

       131.    In November 2014, Visa’s head of global brand protection wrote to Wells Fargo

about imminent fines related to a group of merchants for the Beckish Scheme that “were

introduced into the payment systems by your agents First Data and FPS.” Visa’s letter stated

that the incident “was caused by Wells Fargo Bank and First Data’s failure to provide adequate

oversight and control of its agent portfolio.” The letter sought from Wells Fargo an explanation

of “why First Data permitted the group of 62 merchants to be boarded by First Pay after this




                                                40
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 41 of 48



agent was identified as High Risk by Wells Fargo…”

       132.     In December 2014, Visa wrote to First Data and Wells Fargo having determined

the merchants “caused undue harm to the goodwill of the Visa Payment System by generating

133,354 chargebacks at a 34% chargeback rate and a 40% fraud to sales ratio.” In the same

month, Visa banned Wells Fargo and First Data from contracting with new ISOs and from

processing charges for new high-risk merchants through its network until the entire First

Data/Wells Fargo merchant portfolio could be audited by a third party accounting firm.

       133.     In April 2015, an audit conducted by Pricewaterhouse Coopers found significant

failures in First Data’s risk management practices, including “no controls” over high-risk

merchant boarding, deficient merchant transaction monitoring, and failures in due diligence of its

agents. Since that time, First Data has resumed processing charges for new high-risk merchants

through Visa.

              After FPS Was Terminated for Boarding Fraudulent Merchant Accounts,
                     First Data Acquired FPS’s Portfolio and Hired its President

       134.     In or around December 2014, First Data acquired FPS’s merchant accounts and

hired most of FPS’s employees.

       135.     In September 2015, First Data asked Wells Fargo to allow former FPS employees

employed at First Data to resume soliciting high-risk merchants. Wells Fargo granted the

request on the condition that the former FPS employees were not “associated with or related to

Vincent Ko” and that First Data could confirm that “Vincent Ko has no influence.”

       136.     In January 2017, First Data hired Ko as a vice-president of strategic partnerships.

Since then, Ko hired at least 15 sales agents to solicit prospective merchants.

       137.     Based on the facts and violations of law alleged in this Complaint, the FTC has




                                                41
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 42 of 48



reason to believe that Defendants are violating or are about to violate laws enforced by the

Commission because, among other things:

          a. Defendants engaged in their unlawful acts and practices repeatedly over a period

              of almost 3 years;

          b. Ko continued his unlawful acts or practices despite knowledge and direct

              evidence that his company was boarding merchants which were shell companies

              or other companies engaged in fraud;

          c. First Data continued its unlawful acts and practices despite knowledge that it was

              processing transactions for, and allowing FPS to board, shell companies or other

              companies engaged in fraud;

          d. First Data continued its unlawful acts and practices despite knowledge of

              exorbitant chargeback rates and chargeback narratives that described consumer

              deception; and

          e. First Data continued its unlawful acts and practices despite knowledge of

              numerous government and industry inquiries into FPS and its merchants’

              fraudulent conduct.

                               VIOLATIONS OF THE FTC ACT

       138.   Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or deceptive acts

or practices in or affecting commerce.” Acts or practices are unfair under Section 5 of the FTC

Act if they cause or are likely to cause substantial injury to consumers that consumers cannot

reasonably avoid themselves and that is not outweighed by countervailing benefits to consumers

or competition. 15 U.S.C. § 45(n).




                                              42
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 43 of 48



                                     COUNT I
                     UNFAIR PAYMENT PROCESSING PRACTICES
                               (as to all Defendants)

       139.    In numerous instances, Defendants have:

               a.     Opened or maintained payment processing accounts for merchants that

                      were shell companies or other companies engaged in fraud;

               b.     Processed transactions to consumers’ accounts for merchants that were

                      shell companies or engaged in fraud;

               c.     Failed to timely terminate merchants that were shell companies or other

                      companies engaged in fraud; and

               d.     Ignored evidence of fraudulent activity on merchant accounts.

       140.    Defendants’ actions cause or are likely to cause substantial injury to consumers

that consumers cannot reasonably avoid themselves and that is not outweighed by countervailing

benefits to consumers or competition.

       141.    Therefore, Defendants’ acts or practices, as set forth in Paragraph 139, constitute

unfair acts or practices in violation of Section 5 of the FTC Act, 15 U.S.C. § 45(a) and (n).

                                 VIOLATIONS OF THE TSR

       142.    In 1994, Congress directed the FTC to prescribe rules prohibiting abusive and

deceptive telemarketing acts or practices pursuant to the Telemarketing Act, 15 U.S.C. §§ 6101 ̶

6108. The FTC adopted the original TSR in 1995, extensively amended it in 2003, and amended

certain provisions thereafter. 16 C.F.R. Part 310.

       143.    Under the TSR, a “merchant” means a person who is authorized under a written

contract with an acquirer to honor or accept credit cards, or to transmit or process for payment

credit card payments, for the purchase of goods or services or a charitable contribution. 16



                                                43
            Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 44 of 48



C.F.R. § 310.2(u).

       144.     It is a violation of the TSR for any person to employ, solicit, or otherwise cause a

merchant, or an employee, representative, or agent of the merchant, to present to or deposit into

the credit card system for payment, a credit card sales draft generated by a telemarketing

transaction that is not the result of a telemarketing credit card transaction between the cardholder

and the merchant; 16 C.F.R. § 310.3(c)(2).

       145.     The TSR also prohibits a person from providing substantial assistance or support

to any seller or telemarketer when that person “knows or consciously avoids knowing” that the

seller or telemarketer is engaged in any act or practice that violates Section 310.3(c). 16 C.F.R. §

310.3(b).

       146.     Pursuant to Section 3(c) of the Telemarketing Act, 15 U.S.C. § 6102(c) and

Section 18(d)(3) of the FTC Act, 15 U.S.C. § 57a(d)(3), a violation of the TSR constitutes an

unfair or deceptive act or practice in or affecting commerce, in violation of Section 5(a) of the

FTC Act, 15 U.S.C. § 45(a).

                                          COUNT II
                                CREDIT CARD LAUNDERING
                                    (as to Defendant Ko)
       147.     In numerous instances and without the express permission of the applicable credit

card system, Defendant Ko has employed, solicited, or otherwise caused shell companies, or

representatives or agents of those shell companies, to present to or deposit into, the credit card

system for payment, a credit card sales draft generated by a telemarketing transaction that is not

the result of a telemarketing credit card transaction between the cardholder and the shell

companies, as described in Paragraphs 20–137.

       148.     Defendant Ko’s acts or practices, as described in Paragraph 147, are deceptive



                                                 44
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 45 of 48



telemarketing acts or practices that violate the TSR, 16 C.F.R. § 310.3(c)(2).

                                  COUNT III
           ASSISTING AND FACILITATING CREDIT CARD LAUNDERING
                          (as to Defendant First Data)
       149.    In numerous instances and without the express permission of the applicable credit

card system, Defendant First Data has provided substantial assistance or support to persons

whom Defendant First Data knew, or consciously avoided knowing, employed, solicited, or

otherwise caused shell companies, or representatives or agents of those shell companies, to

present to or deposit into, the credit card system for payment, a credit card sales draft generated

by a telemarketing transaction that is not the result of a telemarketing credit card transaction

between the cardholder and the shell companies, as described in Paragraphs 20–137, in violation

of Section 310.3(c)(2) of the TSR, 16 C.F.R. § 310.3(c)(2).

       150.    Defendant First Data’s acts or practices, as described in Paragraph 149, are

deceptive telemarketing acts or practices that violate the TSR, 16 C.F.R. § 310.3(b).



                                 COUNT IV
         ASSISTING AND FACILITATING DECEPTIVE REPRESENTATIONS
                            (as to all Defendants)

       151.    In numerous instances, the Defendants, or their agents or subagents, have

provided substantial assistance or support to sellers or telemarketers whom the Defendants or

their agents or subagents knew, or consciously avoided knowing:

           a. Induced consumers to pay for goods and services through the use of false or

               misleading statements, including but not limited to, false or misleading statements

               in connection with the telemarketing of debt relief services, in violation of Section

               310.3(a)(2)(x) of the TSR, 16 C.F.R. § 310.3(a)(2)(x);



                                                45
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 46 of 48



           b. Charged an advance fee for debt relief services, in violation of Section

               310.3(a)(5)(i) of the TSR, 16 C.F.R. § 310.3(a)(5)(i); or

           c. Induced consumers to pay for goods and services through the use of false or

               misleading statements in connection with any material aspect of an investment

               opportunity, including, but not limited to risk, liquidity, earnings potential, or

               profitability, in violation of Section 310.3(a)(2)(vi) of the TSR, 16 C.F.R. §

               310.3(a)(2)(vi).

       152.    The Defendants’ acts or practices, as set forth in Paragraph 151, constitute

deceptive telemarketing acts or practices that violate the TSR, 16 C.F.R. § 310.3(b).

                                    CONSUMER INJURY

       153.    Consumers throughout the United States are suffering, have suffered, and will

continue to suffer substantial injury as a result of Defendants’ violations of the FTC Act and

TSR. In addition, Defendants have been unjustly enriched as a result of their unlawful acts or

practices. Absent injunctive relief by this Court, Defendants are likely to continue to injure

consumers, reap unjust enrichment, and harm the public interest.

                       THE COURT’S POWER TO GRANT RELIEF

       154.    Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court to grant

injunctive and such other relief as the Court may deem appropriate to halt and redress violations

of any provision of law enforced by the FTC. The Court, in the exercise of its equitable

jurisdiction, may award ancillary relief, including rescission or reformation of contracts,

restitution, the refund of monies paid, and the disgorgement of ill-gotten monies, to prevent and

remedy any violation of any provision of law enforced by the FTC.

       155.    Section 19 of the FTC Act, 15 U.S.C. § 57b, and Section 6(b) of the



                                                46
         Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 47 of 48



Telemarketing Act, 15 U.S.C. § 6105(b), authorize this Court to grant such relief as the Court

finds necessary to redress injury to consumers resulting from Defendants’ violations of the TSR,

including the rescission or reformation of contracts, restitution, the refund of monies paid, and

the disgorgement of ill-gotten monies.

                                   PRAYER FOR RELIEF

       156.   Wherefore, Plaintiff, pursuant to Sections 13(b) and 19 of the FTC Act, 15 U.S.C.

§§ 53(b) and 57b, Section 6(b) of the Telemarketing Act, 15 U.S.C. § 6105(b), and the Court’s

own equitable powers, requests that the Court:

                  a.    Enter a permanent injunction to prevent future violations of the FTC Act

                        and TSR by Defendants;

                  b.    Award such relief as the Court finds necessary to redress injury to

                        consumers resulting from Defendants’ violations of the FTC Act, and

                        TSR, including rescission or reformation of contracts, restitution, the

                        refund of monies paid, and the disgorgement of ill-gotten monies; and

                  c.    Award Plaintiff the costs of bringing this action, as well as such other

                        and additional relief as the Court may determine to be just and proper.




                                                 47
Case 1:20-cv-03867-LLS Document 1 Filed 05/19/20 Page 48 of 48
